Case 3:15-cv-03453-D Document 52 Filed 04/06/16   Page 1 of 65 PageID 1034


                    IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF TEXAS
                              DALLAS DIVISION

 IRONCLAD PERFORMANCE WEAR           §
 CORPORATION,                        §
                                     §
       Plaintiff,                    §
 v.                                  §       No. 3:15-cv-03453-D
                                     §
 ORR SAFETY CORPORATION,             §
                                     §
       Defendant.                    §
                                     §

           APPENDIX IN SUPPORT OF IRONCLAD’S MOTION FOR
                  PROTECTION/MOTION TO QUASH
Case 3:15-cv-03453-D Document 52 Filed 04/06/16                  Page 2 of 65 PageID 1035


       Plaintiff Ironclad Performance Wear Corporation submits this Appendix in Support of

Ironclad Performance Wear Corporation’s Motion for Protection/Motion to Quash.

   Ex. No.                       Description                           Appendix Page Range

      1        Email correspondence re “Emailing: ORR’s            IC APP 000001–
               30b6 of IC for PI Discovery” between Jennifer       IC APP 000004
               Stinnett, Daniel Charest, Will Thompson, Barak
               Kamelgard, Michael Sherman, Andrew Bynum,
               Ben Fultz, Twila Carson and Amy Hoagland,
               dated March 8, 2016.

      2        Orr Safety Corporation’s Amended Notice of          IC APP 000005 –
               Rule 30(b)(6) Deposition of Ironclad                IC APP 000012
               Performance Wear Corporation, dated March
               31, 2016.

      3        Orr Safety Corporation’s Expedited Discovery        IC APP 000013 –
               Requests to Ironclad Performance Wear               IC APP 000032
               Corporation, with accompanying cover letter,
               dated March 8, 2016.

      4        Exhibit Filed under Seal.                           -

      5        Email from Jennifer Stinnett to Michael             IC APP 000053 –
               Sherman et al. re “Orr-Ironclad,” dated March       IC APP 000062
               24, 2016.

      6        Letter from Corey Shapiro to Will Thompson,         IC APP 000063 –
               dated April 5, 2016.                                IC APP 000065

      7        Plaintiff’s First Set of Discovery to Defendant     IC APP 000066 –
               ORR Safety Corporation, dated January 26,           IC APP 000080
               2016.
Case 3:15-cv-03453-D Document 52 Filed 04/06/16    Page 3 of 65 PageID 1036


Dated: April 6, 2016.

                                         Respectfully submitted,


                                         /s/ Michael A. Sherman
                                         Michael A. Sherman (Cal. Bar No. 94783)
                                         (admitted pro hac vice)
                                         Barak Kamelgard (Cal. Bar. No. 298822)
                                         (admitted pro hac vice)
                                         STUBBS ALDERTON & MARKILES,
                                         LLP
                                         15260 Ventura Boulevard, 20th Floor
                                         Sherman Oaks, California 91403
                                         Telephone (818) 444-4500
                                         Facsimile: (818) 444-4520
                                         masherman@stubbsalderton.com
                                         bkamelgard@stubbsalderton.com

                                         Daniel H. Charest
                                         State Bar No. 24057803
                                         Will Thompson
                                         State Bar No. 24094981
                                         BURNS CHAREST LLP
                                         500 North Akard Street, Suite 2810
                                         Dallas, Texas 75201
                                         Telephone: (469) 904-4550
                                         Facsimile: (469) 444-5002
                                         dcharest@burnscharest.com
                                         wthompson@burnscharest.com

                                         Attorneys for Plaintiffs
Case 3:15-cv-03453-D Document 52 Filed 04/06/16                  Page 4 of 65 PageID 1037


                              CERTIFICATE OF SERVICE

       This is to certify that a true and correct copy of the foregoing instrument has been served

on this day April 6, 2016, via the Court’s ECF system as indicated below:

Benjamin C. Fultz (admitted pro hac vice)
Jennifer Metzger Stinnett (admitted pro hac vice)
FULTZ MADDOX DICKENS PLC
2700 National City Tower
Louisville, Kentucky 40202
Telephone: (502) 588-2000
Facsimile: (502) 588-2020
bfultz@fmdlegal.com
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Gregory M. Sudbury
Rachel Lee Hytken
QUILLING, SELANDER, LOWNDS, WINSLETT & MOSER, P.C.
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Dallas, Texas 75201
Telephone: (214) 871-2100
Facsimile: (214) 871-2111
gsudbury@qslwm.com
rhytken@qslwm.com

	      	       	       	       	

                                                       Daniel H. Charest
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                 Exhibit 1




                                                            IC APP 000001
         Case 3:15-cv-03453-D Document 52 Filed 04/06/16                    Page 6 of 65 PageID 1039
                                               Wednesday,	April	6,	2016	at	11:43:29	AM	Central	Daylight	Time

Subject:    Re:	Emailing:	ORR's	30b6	of	IC	for	PI	Discovery	(01299838xB3E85).PDF
Date:       Tuesday,	March	8,	2016	at	7:48:19	PM	Central	Standard	Time
From:       Daniel	Charest
To:         Jennifer	Metzger	STnneU
CC:         Will	Thompson,	Barak	Kamelgard	(bkamelgard@stubbsalderton.com),	Michael	Sherman
            (masherman@stubbsalderton.com),	Andrew	Bynum,	Ben	Fultz,	Twila	Carson,	Amy	Hoagland
AHachments: image001.jpg
Understood, Jenny. We disagree on scope, of course. But let's chat tomorrow. Thanks.

Daniel H. Charest
469.904.4555 direct
214.681.8444 mobile

On Mar 8, 2016, at 19:42, Jennifer Metzger Stinnett <jstinnett@fmdlegal.com> wrote:


     This	did	not	consTtute	the	oﬃcial	noTce	–	it	was	only	to	provide	areas	of	inquiry	so	that	Ironclad
     knew	who	it	needed	it	for	its	corporate	rep(s).		As	we	leb	the	call,	you	all	were	going	to	check	on
     March	21,	22,	or	25	(aber	staTng	the	18	and	24	did	not	work),	and	we	were	going	to	check	with
     our	client	to	determine	whether	or	not	waiTng	unTl	April	was	acceptable	(based	on	the	caveat
     discussed	regarding	Ironclad	waiving	the	Tmeliness	argument	relaTng	to	not	ﬁling	the	moTon
     for	PI	unTl	post	deposiTon).
     	
     As	to	the	areas,	we	believe	these	all	go	to	the	moTon	for	preliminary	injuncTon	and	the
     deposiTon	allowed	in	the	court’s	order	relaTng	to	expedited	discovery.		Of	course,	one	of	the
     TRO/PI	requirements	is	likelihood	of	success	on	the	merits,	so	I	understand	why	there	may	be
     confusion	as	to	areas	for	this	30b6	and	the	liTgaTon	generally.
     	
     Finally,	let	me	get	with	Ben	and	ﬁgure	out	availability	tomorrow.
     	
     Jenny
     	
     <image001.jpg>

     Jennifer Metzger Stinnett
     101 South Fifth Street, 27th Floor
     Louisville, KY 40202
     Main: 502.588.2000
     Direct: 502.588.2026
     Fax: 502.588.2020
     jstinnett@fmdlegal.com
     www.fmdlegal.com
     	




                                                                                                           Page	1	of	3
                                                                                           IC APP 000002
    Case 3:15-cv-03453-D Document 52 Filed 04/06/16                 Page 7 of 65 PageID 1040
From: Daniel Charest [mailto:dcharest@burnscharest.com]
Sent: Tuesday, March 08, 2016 8:10 PM
To: Jennifer Metzger Stinnett; Will Thompson; Barak Kamelgard (bkamelgard@stubbsalderton.com);
Michael Sherman (masherman@stubbsalderton.com); Andrew Bynum
Cc: Ben Fultz; Twila Carson; Amy Hoagland
Subject: Re: Emailing: ORR's 30b6 of IC for PI Discovery (01299838xB3E85).PDF
	
Upon further review of this document, Ben and Jenny, I realize we need to talk
tomorrow. I will make myself available at your convenience, so please just tell me
when. But it is important that we talk tomorrow.

Relatedly, I understand that 4/5 is better than 4/4 with respect to the scheduled
date we discussed today. But our discussion tomorrow will impact that too, I
expect.

Thanks.

Daniel H. Charest
469.904.4555 direct
214.681.8444 mobile

From:	Daniel	Charest	<dcharest@burnscharest.com>
Date:	Tuesday,	March	8,	2016	at	5:51	PM
To:	Jennifer	Metzger	STnneU	<jsTnneU@fmdlegal.com>,	Will	Thompson
<wthompson@burnscharest.com>,	Barak	Kamelgard	<bkamelgard@stubbsalderton.com>,
"Michael	Sherman	(masherman@stubbsalderton.com)"	<masherman@stubbsalderton.com>,
Andrew	Bynum	<abynum@burnscharest.com>
Cc:	Ben	Fultz	<bfultz@fmdlegal.com>,	Twila	Carson	<tcarson@fmdlegal.com>,	Amy	Hoagland
<ahoagland@fmdlegal.com>
Subject:	Re:	Emailing:	ORR's	30b6	of	IC	for	PI	Discovery	(01299838xB3E85).PDF


    Jennifer,

    Please confirm for me that this document does not constitute ORR’s deposition
    notice but, instead, is provided to show the list of topics. As we discussed today
    (before you sent this notice), Mr. Cordes (the person most involved with the
    TRO/PI issues ) cannot give a deposition on March 18. Also, my initial review
    suggests that this notice may be a more generalized deposition (i.e., not limited
    to the issues pertaining to the TRO/PI). Is that correct?

    Thanks.

    Daniel H. Charest
    469.904.4555 direct
    214.681.8444 mobile




                                                                                                 Page	2	of	3
                                                                                  IC APP 000003
Case 3:15-cv-03453-D Document 52 Filed 04/06/16                  Page 8 of 65 PageID 1041
From:	Jennifer	Metzger	STnneU	<jsTnneU@fmdlegal.com>
Date:	Tuesday,	March	8,	2016	at	3:34	PM
To:	Daniel	Charest	<dcharest@burnscharest.com>,	Will	Thompson
<wthompson@burnscharest.com>,	Barak	Kamelgard	<bkamelgard@stubbsalderton.com>,
"Michael	Sherman	(masherman@stubbsalderton.com)"	<masherman@stubbsalderton.com>,
Andrew	Bynum	<abynum@burnscharest.com>
Cc:	Ben	Fultz	<bfultz@fmdlegal.com>,	Twila	Carson	<tcarson@fmdlegal.com>,	Amy	Hoagland
<ahoagland@fmdlegal.com>
Subject:	Emailing:	ORR's	30b6	of	IC	for	PI	Discovery	(01299838xB3E85).PDF


  Daniel	–
  	
  Here	are	Orr’s	TRO/PI	30b6	areas	of	inquiry	I	thought	was	sent	out	yesterday	for	your
  review.		Let	us	know	what	you	ﬁnd	out	about	the	21,	22	or	25th.
  	
  I	will	be	sending	the	email	on	the	rolling	producTon	shortly.
  	
  Jenny




                                                                                          Page	3	of	3
                                                                               IC APP 000004
Case 3:15-cv-03453-D Document 52 Filed 04/06/16   Page 9 of 65 PageID 1042




                 Exhibit 2




                                                            IC APP 000005
     Case 3:15-cv-03453-D Document 52 Filed 04/06/16               Page 10 of 65 PageID 1043

                          UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                                 DALLAS DIVISION

IRONCLAD PERFORMANCE WEAR
CORPORATION,

        Plaintiff,
                                                           Case No. 3:15-cv-03453-D
v.

ORR SAFETY CORPORATION,

        Defendant


ORR SAFETY CORPORATION’S NOTICE OF RULE 30(B)(6) DEPOSITION OF IRONCLAD
                  PERFORMANCE WEAR CORPORAION


        Please take notice that, pursuant to DN-45 and Federal Rule of Civil Procedure 30(b)(6)

and the Court’s, Defendant ORR Safety Corporation (“ORR Safety”) will take the videotaped

deposition(s) of Plaintiff Ironclad Performance Wear Corporation (“Ironclad”) through one or

more of its officers, directors, managing agents, or such other authorized persons who consent to

testify on its behalf on Tuesday, April 12, 2016, at 8:00 a.m. at the office of Quilling, Selander,

Lownds, Winslett & Moser, P.C., 2001 Bryan Street Suite 1800, Dallas, Texas 75201.

        Ironclad has a duty to designate one or more officers, directors, managing agents, or other

persons with sufficient knowledge to testify on their behalf on all information known or

reasonably available to each on the topics set forth below. The deposition(s) will be taken for the

purpose of discovery pursuant to the Court’s Order DN-45 relating to evidence in further support

of ORR Safety’s Motion for Preliminary Injunction and for all other purposes permitted under

the Federal Rules of Civil Procedure. The deposition(s) will be taken before a notary public or

other officer authorized by law to administer oaths for use in this litigation as set forth above.

The deposition(s) will continue from day to day until completed.

                                                 1


                                                                                 IC APP 000006
   Case 3:15-cv-03453-D Document 52 Filed 04/06/16                Page 11 of 65 PageID 1044

                                         DEFINITIONS

       1. The terms “YOU” or “YOUR” means Plaintiff Ironclad Performance Wear

Corporation (“Ironclad”) including, without limitation, any agents and representatives, each

person acting or purporting to act on its behalf, each of its predecessors, subsidiaries, and

affiliates, and each of its present or former officers, employees, agents, representatives, and

attorneys.

       2. The term “Distributorship Agreement” means the Exclusive License and

Distributorship Agreement entered into between Ironclad and ORR Safety on January 6, 2009,

and as amended, the First Amendment to the Exclusive License and Distributorship Agreement

entered into between Ironclad and ORR Safety on January 27, 2015.

       3. The term “Disputed Gloves”shall include the following gloves:

             1. Industrial Impact Knit Cut 5
             2. Industrial Impact Low Profile impact - closed cuff Cut 5
             3. Industrial Impact Rigger Cut 5
             4. Industrial impact Rigger Insulated Waterproof
             5. Industrial Impact Arctic Mitt
             6. Industrial Impact Cotton Corded Palm
             7. Industrial Impact High Abrasion Impact
             8. Industrial Impact Knit Cut 5 Grip
             9. Industrial Impact Low Profile Impact - Open Cuff Cut 5
             10. Industrial Impact Rigger
             11. Vibram Insulated Waterproof
             12. Vibram Flame Resistant
             13. Vibram O.B.M.
             14. Vibram O.B.M. Cut-5
             15. Vibram O.B.M. XOR
             16. Vibram Rigger
             17. Vibram Rigger - Cut 5
             18. Vibram Rigger Insulated
             19. Ironclad Revolution
             20. Knit Cut 5 Sandy Nitrile Dip

       4. The terms “concerning” “regarding” and “relating to” mean relating to, supporting,

contradicting, summarizing memorializing, describing, evidencing, constituting, containing,

                                                 2


                                                                             IC APP 000007
    Case 3:15-cv-03453-D Document 52 Filed 04/06/16                    Page 12 of 65 PageID 1045

studying, identifying, analyzing, considering, regarding, explaining, mentioning, showing,

discussing, comprising or commenting on.

        5. Each of the terms “all,”“any,”“each,”and “every”shall be construed as meaning all,

any, each and every.

        6. The terms “and”and “or”shall be construed both disjunctively and conjunctively.

        7. The term “Distributorship Letter” shall mean the January 27, 2016 letter from Jeff

Cordes to members of ORR Safety’s Distributor Network for KONG, including, but not limited

to (1) Future Concerns Group; (2) Safar Oil Services; (3) Project Sales Corp.; (4) Durasafe Pte

Ltd.; (5) K&L Ross; and (6) KMST.

        8.   The term “Distribution Network” shall mean any of ORR Safety’s customers,

members of its supply chain, and or end users that Ironclad knows is or was a purchaser of

KONG Gloves from ORR Safety. ORR Safety contends the Distribution Network is confidential

and proprietary in nature.

                                      RULE 30(b)(6) TOPICS

        Ironclad shall designate one or more officers, directors, managing agents, or persons who

consent to testify on its behalf concerning the following subject matters:

        1.      Sections 1.3,1 2.1, 5.1, and 7.6 of the parties’Distributorship Agreement between

Ironclad and ORR Safety as discussed in ORR Safety’s Motion for Temporary Restraining

Order/Preliminary Injunction and all supporting briefs and documentations thereto (DN-28, DN-

31 through DN 31-19, DN-35, and DN 36 through DN 36-6), Ironclad’s Response in Opposition

to ORR Safety’s Motion for Temporary Restraining Order/Preliminary Injunction and all

supporting documentations thereto (DN-37, DN-28, and DN-39-1 through DN 39-13), and ORR

1
  Note that Confidentiality Provision was originally Section 1.1 in the Distributorship Agreement, but was
renumbered as Section 1.3 in the Amendment. But the substance was not changed in the Amendment.


                                                    3


                                                                                      IC APP 000008
   Case 3:15-cv-03453-D Document 52 Filed 04/06/16                  Page 13 of 65 PageID 1046

Safety’s Reply in Further Support of its Motion for Temporary Restraining Order/Preliminary

Injunction and all supporting documentations thereto (DN-41 and DN-42 through DN-42-3).

       2.      The facts relied upon to form the allegations, and to justify the claims asserted as

of the date the relevant pleadings were filed, that specifically relate to Sections 1.3, 2.1, 5.1 and

7.6 of the parties’Distributorship Agreement between Ironclad and ORR Safety as set out in: (1)

Ironclad’s Original Petition, (2) its answer and affirmative defenses to ORR Safety’s

Counterclaim (DN-12), and (3) its Response in Opposition to ORR Safety’s Motion for

Preliminary Injunction and all supporting documentations thereto (DN-37, DN-28, and DN-39-1

through DN 39-13).

       3.      Ironclad’s responses to ORR Safety’s requests for Expedited Discovery, served

on March 8, 2016.

       4.      Documents produced by Ironclad in this matter on or about February 29, 2016

(Ironclad_0000001-Ironclad_0000746), documents produced by Ironclad on or about March 28,

2016 (Ironclad_000747 –Ironclad_001245), documents that will be produced by Ironclad in this

matter pursuant to ORR Safety’s expedited discovery requests served on March 8, 2016, and any

documents attached to ORR Safety’s Motion for Temporary Restraining Order/Preliminary

Objection (and brief in support), Ironclad’s Response in Opposition to ORR Safety’s Motion for

Preliminary Injunction, and ORR Safety’s Reply in Support of its Motion for Temporary

Restraining Order/Preliminary Objection.

       5.      Ironclad’s business operations, organization, ownership, and solvency, from

January 1, 2015 to the present.

       6.      All technical, manufacturing and practical analysis, or reasoning, and all facts in

support of, your allegations that ORR Safety breached Section 2.1 of the Distributorship



                                                 4


                                                                                  IC APP 000009
   Case 3:15-cv-03453-D Document 52 Filed 04/06/16                Page 14 of 65 PageID 1047

Agreement, including any and all analysis done to prove that the gloves set out in Paragraph 23

of your Original Petition are “specifically designed and/or marketed for the petrochemical and

offshore exploration markets that are substantially similar to, or competitive with [KONG

gloves].”

       7.      All facts or evidence relied upon by Ironclad in deciding to terminate the

Distributorship Agreement on October 7, 2015 due to ORR Safety’s alleged breaches of Section

5.1 of the Distributorship Agreement.

       8.      All technical, manufacturing and practical analysis, or reasoning, and all facts in

support of, your allegations/defenses that the Disputed Gloves do not infringe on KONG Trade

Dress, defined as “collectively, the characteristics of the visual appearance of [KONG gloves] or

packaging associated therewith and, to the extent permitted under applicable law, any

applications therefor, whether registered or not”in the parties’Distributorship Agreement.

       9.      All technical, manufacturing and practical analysis, or reasoning, and all facts in

support of, your contention that the Court granting ORR Safety’s Motion for Preliminary

Injunction would “have devastating effects on Ironclad’s business”and would result in “millions

of dollars in lost sales and would delay a crucial product launch indefinitely”as asserted in your

Response in Opposition to ORR Safety’s Motion for Temporary Restraining Order (DN-38).

       10.     All assertions set out in the Declaration of Jeff Cordes (DN 39-2).

       11.     All discussions with any manufacturer regarding the production of any gloves at

issue in this litigation, including all KONG gloves (which includes all KONG Dickies gloves) or

any of the Disputed Gloves, relating to source materials, timing of production, or prototype of

any gloves.




                                                5


                                                                                IC APP 000010
    Case 3:15-cv-03453-D Document 52 Filed 04/06/16                            Page 15 of 65 PageID 1048

          12.     All agreements and communications with Vibram regarding KONG gloves

(which includes all KONG Dickies gloves) or any of the Disputed Gloves.

          13.     All facts supporting your defense that Ironclad has not misappropriated ORR

Safety’s Distribution Network.

          14.     All facts supporting your claim that you in no way relied on any information

gained from your relationship with ORR Safety in preparing, drafting, or sending the Distributor

Letter.

          15.     Any and all meetings between anyone at Ironclad, including Eric Jaeger, and any

one at ExxonMobil, from September 2015 to the present.

          16.     The time frames and basis for deciding to create any of the Disputed Gloves.

          17.     Actual sales and sales terms for the Disputed Gloves to date.

          18.     The contract between Vibram and Ironclad.2

          19.     The packaging for KONG gloves and the packaging for the Disputed Gloves.

          20.     The fabrics and materials, including shared fabrics and materials, used to make

KONG gloves and the Disputed Gloves.

          21.     The elements of U.S. Patent No. 9,241,519 incorporated into KONG gloves and

the Disputed Gloves, as well as the other similarities of the KONG gloves and the Disputed

Gloves.

          22.     The development, manufacturing, and marketing of any prototype of the Disputed

Gloves.




2
 To the extent that this topic implicates confidential and/or sensitive information addressed in the protective order,
ORR will take all steps to ensure that such information is not inappropriately disclosed.

                                                          6


                                                                                                IC APP 000011
   Case 3:15-cv-03453-D Document 52 Filed 04/06/16                Page 16 of 65 PageID 1049

                                  Respectfully submitted,



                                   s/ Jennifer Metzger Stinnett

                                  Benjamin C. Fultz (admitted pro hac vice)
                                  Jennifer Metzger Stinnett (admitted pro hac vice)
                                  FULTZ MADDOX DICKENS PLC
                                  2700 National City Tower
                                  Louisville, Kentucky 40202
                                  Telephone: (502) 588-2000
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                                  -and-

                                  Gregory M. Sudbury
                                  Texas Bar No. 24033367
                                  Rachel Lee Hytken
                                  Texas Bar No. 24072163
                                  QUILLING, SELANDER, LOWNDS, WINSLETT & MOSER, P.C.
                                  2001 Bryan Street, Suite 1800
                                  Dallas, Texas 75201
                                  (214) 871-2100 (Main)
                                  (214) 871-2111 (Fax)
                                  gsudbury@qslwm.com

                                  Counsel for Defendant and Counterclaim Plaintiff ORR Safety
                                  Corporation


                             CERTIFICATE OF SERVICE

             This is to certify that a true and correct copy of the foregoing document was
served upon the following counsel via email on March 31, 2016, in accordance with the
agreement reached between the parties for electronic service and the Federal Rules of Civil
Procedure:



                                  s/ Jennifer Metzger Stinnett
                                  Counsel for Defendant and Counterclaim Plaintiff




                                             7


                                                                             IC APP 000012
Case 3:15-cv-03453-D Document 52 Filed 04/06/16   Page 17 of 65 PageID 1050




                 Exhibit 3




                                                            IC APP 000013
   Case 3:15-cv-03453-D Document 52 Filed 04/06/16                  Page 18 of 65 PageID 1051




Jennifer Metzger Stinnett ▪ 502-588-2026 ▪ jstinnett@fmdlegal.com


                                            March 8, 2016

                                                                                         Via Email

Daniel H. Charest
Will Thompson
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500 North Akard Street, Suite 2810
Dallas, TX 75201
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        RE:     Ironclad Performance Wear Corporation (“Ironclad”) v. Orr Safety
                Corporation (“ORR”), N.D. Tex. Case No. 3:15-cv-03453-D –
                Expedited Discovery

Dear Counsel:

       Please find enclosed ORR’s Expedited Requests for Production to Ironclad. Pursuant to
the Court’s February 26, 2016 Order (DN-45), responses are due within three (3) business days.
ORR interprets “responses” as set out in the Court’s Order to include all responsive documents
produced concurrently with written responses. However, as always, ORR is willing to work with
Ironclad on the timing if there are insurmountable circumstances preventing production within
the timeframe ordered.

        As a preemptory matter, ORR takes issues with several of Ironclad’s global objections to
its previous discovery requests, propounded on December 16, 2015, including, but not limited to:

       General Objection 8 states to the extent a request “calls for disclosure of documents or
        information created by or received from third parties with whom Plaintiff has agreed to
        keep information confidential, or third party’s trade secrets in Plaintiff’s possession that
        Plaintiff has agreed to keep confidential.” This is not an appropriate objection because
        the parties have an Agreed Protective Order in place to deal with just these sorts of
        sensitive documents, including an attorneys’ eyes only designation for particular




                                                                                  IC APP 000014
   Case 3:15-cv-03453-D Document 52 Filed 04/06/16               Page 19 of 65 PageID 1052

March 8, 2016
Page 2


       proprietary information that the parties are not comfortable sharing with one another.
       Therefore, responsive documents must be produced.

      General Objection 11 states that “[r]esponses indicating that available documents will be
       produced for inspection are not representations or implied representations that any
       documents exist within Plaintiff’s control, custody, or possession that would be
       responsive to the request.” This is an inappropriate objection. Ironclad should know
       whether or not it has or will have (in its possession, custody, or control) a category of
       document requested, and making this generic response without actually knowing if it
       actually has available documents is disingenuous, at best, and causes confusion with the
       discovery requests. To the extent Ironclad says it will produce responsive documents, it
       must know whether or not such responsive documents exist before saying so.

      Similarly, in many of the responses to the Request for Production, Ironclad responds,
       after a series of objections, that “Plaintiff will produce responsive documents, not
       privileged or otherwise protected disclosure, if any, that can be found following a
       reasonable and diligent search.” Similar to General Objection 11, this response is
       objectionable because Ironclad is required to do a “reasonable and diligent” search as
       soon as it receives the discovery requests; doing so at some point after the written
       responses are due to be served is inconsistent with the Federal Rules of Civil Procedure.
       And in this case, Ironclad received the requests on December 16, 2015, yet ORR is not
       any closer to getting most of the documents requested now than it was then. These
       responses must be amended and Ironclad must indicate if it will be producing documents
       responsive to certain requests, and then it needs to actually produce the documents.

      Ironclad further objects in multiple responses under the “common interest doctrine.”
       ORR believes this is an inappropriate objection, and to the extent Ironclad intends to
       reassert such an objection, ORR is entitled to know with which entity Ironclad is
       claiming it has a “common interest,” when such a “common interest” began, and what
       legal support Ironclad has to make such a objection.

      Finally, in many of the responses to the Request for Production, Ironclad objects on the
       basis that the information requested is “confidential and proprietary information and/or
       trade secrets.” As explained above, due to the Agreed Protective Order that is in place,
       this objection is inappropriate and responsive documents must be produced.

If Ironclad intends to continue relying on improper objections in response to the Expedited
Requests for Production, please advise as soon as possible so that the parties can have the
appropriate meet and confer and ORR can then file its motion to compel without further delay.

      Second, ORR has re-served many of its First Requests for Production in this Expedited
Discovery, i.e. Expedited Requests for Production Nos. 41-63 (“Reasserted Requests for


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Production”). ORR did this for two reasons: (1) Ironclad said it would produce responsive
documents pursuant to these requests but has still failed to do so even after its first initial
production received by ORR on February 29, 2016;1 or (2) Ironclad gave a blanket refusal to
produce the documents based on the meritless objections detailed above.2 Again, if Ironclad has
responsive documents pursuant to these requests, they need to be produced as soon as possible.
If Ironclad intends to stand by the objections to these Requests for Production and refuses to
produce responsive documents, please confer with ORR’s counsel regarding the same as soon as
possible. ORR can then proceed with filing a motion to compel so that the Court can resolve the
same in an expedited fashion.

      Finally, Ironclad did not produce a privilege log with its first production. Please do so
immediately.

        I hope to hear from you in regard to these issues so that we can resolve them without
further burdening the Court.



1
    For example:
       No responsive documents were produced pursuant to Requests for Production Nos. 2. 16,
          20, 27, and 31 in ORR’s First Request for Production.
       Request for Production 19 - There were only five pages of email correspondence
          produced, and both parties clearly know there should be many more produced.
       Request for Production No. 24 - There was a sales spreadsheet produced (no bates label)
          for sales from 2009 to the present, but it does not indicate web-based or web-generated
          sales of KONG gloves.
       Request for Production No. 25 – There was a spreadsheet produced (no bates labels)
          regarding sales from 2009 to the present but it does not indicate if the sales reflected in
          the spreadsheet are pursuant to the Sub-Distributorship Agreement between ORR and
          Ironclad.
       Request for Production No. 28 – There was an Agreement signed by Cordes and
          Gionfriddo in October 2014 regarding particulars with respect to agreement between
          Ironclad and Vibram (Ironclad 248-249), but there is no correspondence between
          Ironclad and Vibram. Correspondence with Vibram must be produced.
       Request for Production No. 29 – There was an Distribution Agreement between Ironclad
          and Performance On Hand Pty Ltd. (Ironclad 250-278), but there is no correspondence
          between Ironclad and Performance on Hand. Correspondence with Performance on Hand
          Pty Ltd. must be produced.
2
  For example, Ironclad provided a blanket refusal to respond to ORR’s First Requests for
Production Nos. 10, 12, 13, 14, 30, 34, 35, 36, 37, 38, 39, 40, and 44. These Requests for
Production are not objectionable and are equally relevant to ORR’s Motion for Preliminary
Objection as they are to the entire litigation. Therefore, Ironclad should amend its written
objection and must produce responsive documents.

                                                                                   IC APP 000016
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                                            Sincerely,




                                                  Jennifer M. Stinnett



      cc:   Benjamin C. Fultz (via email)




                                                                     IC APP 000017
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                          UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                                 DALLAS DIVISION

IRONCLAD PERFORMANCE WEAR
CORPORATION,

        Plaintiff,
                                                        Civil Action No. 3:15-cv-03453-D
v.

ORR SAFETY CORPORATION,

        Defendant


          ORR SAFETY CORPORATION’S EXPEDITED DISCOVERY REQUESTS
               TO IRONCLAD PERFORMANCE WEAR CORPORATION


        Pursuant to DN-45 and Fed. R. Civ. Proc. 34(b)(2)(A), Defendant/Counterclaimant Orr

Safety Corporation (“ORR Safety”) propounds this set of written discovery (the “Discovery

Requests”) to Plaintiff/Counterclaim Defendant Ironclad Performance Wear Corporation

(“Ironclad”). For purposes of these Discovery Requests, the “Distributor Letter” means the letter

dated January 27, 2016 and signed by Jeff Cordes President and CEO of Ironclad, that is referred

to in ORR Safety’s Motion for Temporary Restraining Order/Preliminary Injunction and Brief in

Support (DN-28 and DN-31), and/or any communication or document substantially similar in

content and subject matter thereto.

                               REQUESTS FOR PRODUCTION

        REQUEST FOR PRODUCTION NO. 1: Produce any and all copies or versions of the

Distributor Letter sent or transmitted to any entities or persons, including metadata.      This

includes all email or text correspondence attaching the Distributor Letter or discussing the

Distributor Letter, its contents, or Vibram, both internally and externally.



                                                  1


                                                                               IC APP 000018
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       REQUEST FOR PRODUCTION NO. 2: Produce any and all documents constituting

or evidencing communication in any way relating to the Distributor Letter, including drafts and

metadata.

       REQUEST FOR PRODUCTION NO. 3: Produce specimens of any and all products

described or referred to in the Distributor Letter.

       REQUEST FOR PRODUCTION NO. 4: Produce any and all documents constituting

or evidencing communication with any entity or person (internal or external) to whom the

Distributor Letter was sent or transmitted that in any way, shape or form relates to the subject

matter of the Distributor Letter.

       REQUEST FOR PRODUCTION NO. 5: Produce any and all internal Ironclad

communications or documents relating in any way, shape or form to the decision to send or

transmit the Distributor Letter or to otherwise communicate with or contact the entities or

persons to whom the Distributor Letter was sent or transmitted.

       REQUEST FOR PRODUCTION NO. 6: Produce any and all documents, including

any communications (internal or external) about the same, identifying ORR Safety’s distribution

network for KONG products.

       REQUEST FOR PRODUCTION NO. 7: Produce any and all documents, including

any communications (internal or external) about the same, regarding the development of ORR’s

distribution network for KONG products.

       REQUEST FOR PRODUCTION NO. 8: Produce any and all documents, including

any communications (internal or external) about the same, related in any way, shape or form to

the manufacturer(s) of non-KONG products described or referred to in the Distributor Letter,

including, but not limited to, agreements, correspondence, or negotiation materials.



                                                  2


                                                                                 IC APP 000019
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       REQUEST FOR PRODUCTION NO. 9: Produce any and all documents, including

any communications (internal or external) about the same, relating to the decision or analysis as

to whom you sent the Distributor Letter.

       REQUEST FOR PRODUCTION NO. 10: Produce any and all documents, including

any communications (internal or external) about the same, relating to Ironclad’s pricing for all

products described or referred to in the Distributor Letter, including, but not limited to,

documents reflecting pricing variety by purchaser (including ORR Safety), quantity, terms, or in

any other detail regarding such variations and the basis for such variations.

       REQUEST FOR PRODUCTION NO. 11: Produce any and all documents, including

any communications (internal or external) about the same, relating to the relationship structures

(including, but not limited to, distributor, master distributor, exclusive, and preferred, with an

explanation of Ironclad’s such designation) offered or to be offered to purchasers or prospective

purchasers of all products described or referred to in the Distributor Letter, including terms.

       REQUEST FOR PRODUCTION NO. 12: Produce any and all documents, including

any communications (internal or external) about the same, relating to the analyses or other basis

for the contention that the sale of the gloves identified in Ironclad’s Original Petition resulted in

breach of the parties’ agreements (the Exclusive Distributorship Agreement, as amended, and the

Sub-Distributorship Agreement, as amended) by ORR Safety.

       REQUEST FOR PRODUCTION NO. 13: Produce any and all documents, including

any communications (internal or external) with or about the same, identifying any and all

persons who were involved or participated in any way in the decision to send or transmit the

Distributor Letter or the determination of to whom the Distributor Letter would be sent or

transmitted.



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       REQUEST FOR PRODUCTION NO. 14: Produce any and all documents, including

any communications (internal or external) with or about the same, identifying any and all

manufacturers used to make (1) any and all of the KONG Vibram Counterfeit gloves and the (2)

any and all of the KONG gloves.

       REQUEST FOR PRODUCTION NO. 15: Produce any and all documents, including

any communications (internal or external) about the same, relating to the pricing and minimum

order quantity offered to any company, (accepted, offered, or contemplated), for any KONG

glove or any KONG Counterfeit glove.

       REQUEST FOR PRODUCTION NO. 16: Produce any and all documents reflecting

internet searches, including any internet cache records, performed by Jeff Cordes that include in

any way (whether individually or in conjunction with other terms) searches for (1) Future

Concerns Group; (2) DuraSafe Pte Ltd.; (3) Project Sales Corp.; (4) Safar Oil Field Services; (5)

K&L Ross; (6) KMST; (7) ORR; or (8) KONG, performed two weeks prior to the date of the

Google searches identified in Cordes’s Declaration, DN 39-2, paragraphs 23, 24, and 25, through

the present.

       REQUEST FOR PRODUCTION NO. 17: Produce any and all documents reflecting

internet searches, including any internet cache records, performed by Jeff Cordes that include in

any way (whether individually or in conjunction with other terms) searches relating to Ironclad’s

claims or defenses in this litigation, ORR Safety’s claims or defenses in this litigation, or ORR

Safety’s Motion for Temporary Restraining Order/Motion for Preliminary Injunction. Or

Ironclad’s defenses relating to ORR Safety’s Motion for Temporary Restraining Order/Motion

for Preliminary Injunction, performed two weeks prior to the date of the Google searches

identified in Cordes’s Declaration, DN 39-2, paragraphs 23, 24, and 25, through the present.



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       REQUEST FOR PRODUCTION NO. 18: Produce any and all document, including

any communications (internal or external) about the same, showing Jeff Cordes's prior

knowledge of (1) Future Concerns Group; (2) DuraSafe Pte Ltd.; (3) Project Sales Corp.; (4)

Safar Oil Field Services; (5) K&L Ross; or (6) KMST.

       REQUEST FOR PRODUCTION NO. 19: Produce all purchase orders for the KONG

Counterfeit.

       REQUEST FOR PRODUCTION NO. 20: Produce all communications with or about

(1) Future Concerns Group; (2) DuraSafe Pte Ltd.; (3) Project Sales Corp.; (4) Safar Oil Field

Services; (5) K&L Ross; and (6) KMST.

       REQUEST FOR PRODUCTION NO. 21: Produce all information and documents

relied upon by Jeff Cordes to determine/conclude that Orr Safety was selling competing gloves

as set out in ¶ 16 of his Declaration (DN 39-2) in Support of Ironclad’s Memorandum in

Opposition to Defendant’s Motion for TRO/PI and Motion for Expedited Discovery (DN-38).

       REQUEST FOR PRODUCTION NO. 22: Please produce examples of the Ironclad

Revolution glove and any and all documents that show when these gloves were first available for

purchase from Ironclad.

       REQUEST FOR PRODUCTION NO. 23: Produce any and all documents, including

all communications (internal and external), identifying Ironclad’s sales of KONG-branded

gloves, Vibram-branded gloves/Ironclad’s Industrial Impact gloves, Ironclad’s Revolution

gloves, and any other glove featuring back-of-the-hand protection similar to that found in KONG

gloves from 2009 to the present. This includes all documents reflecting the date of the sale, the

name of the buyer, the sales channel (e.g., phone, purchase order, website), and the type(s),

price(s) and quantity of gloves ordered.



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       REQUEST FOR PRODUCTION NO. 24: Produce any and all documents, including

any communications (internal or external), regarding Ironclad’s current inventory of any and all

KONG gloves, by style.

       REQUEST FOR PRODUCTION NO. 25: Produce any and all documents, including

any communications (internal or external), regarding Ironclad’s current inventory, by style, of

any and all of the following gloves:

              Ironclad Industrial Impact Knit Cut 5

              Ironclad Industrial Impact Low Profile Impact - Closed Cuff Cut 5

              Ironclad Industrial Impact Rigger Cut 5

              Ironclad Industrial Impact Rigger Insulated Waterproof

              Ironclad Industrial Impact Artic Mitt

              Ironclad Industrial Impact Cotton Corded Palm

              Ironclad Industrial Impact High Abrasion Impact

              Ironclad Industrial Impact Knit Cut 5 Grip

              Ironclad Industrial Impact Low Pro file Impact - Open Cuff Cut 5

              Ironclad Industrial Impact Rigger

              Ironclad Vibram Insulated Waterproof

              Ironclad Vibram Flame Resistant

              Ironclad Vibram O.B.M.

              Ironclad Vibram O.B.M. Cut-5

              Ironclad Vibram O.B.M. XOR

              Ironclad Vibram Rigger

              Ironclad Vibram Rigger Cut-5

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              Ironclad Vibram Rigger Insulated

              Ironclad Revolution

       REQUEST FOR PRODUCTION NO. 26: Produce all bills of lading, including any

communications (internal or external) regarding the same, from January 1, 2016 to the present,

for the following gloves:

              Ironclad Industrial Impact Knit Cut 5

              Ironclad Industrial Impact Low Profile Impact - Closed Cuff Cut 5

              Ironclad Industrial Impact Rigger Cut 5

              Ironclad Industrial Impact Rigger Insulated Waterproof

              Ironclad Industrial Impact Artic Mitt

              Ironclad Industrial Impact Cotton Corded Palm

              Ironclad Industrial Impact High Abrasion Impact

              Ironclad Industrial Impact Knit Cut 5 Grip

              Ironclad Industrial Impact Low Pro file Impact - Open Cuff Cut 5

              Ironclad Industrial Impact Rigger

              Ironclad Vibram Insulated Waterproof

              Ironclad Vibram Flame Resistant

              Ironclad Vibram O.B.M.

              Ironclad Vibram O.B.M. Cut-5

              Ironclad Vibram O.B.M. XOR

              Ironclad Vibram Rigger

              Ironclad Vibram Rigger Cut-5

              Ironclad Vibram Rigger Insulated

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              Ironclad Revolution

       REQUEST FOR PRODUCTION NO. 27: Produce an example of all gloves sold by

Ironclad that fall into the category of “Knit Cut 5 Sandy Nitrile Dip.”

       REQUEST FOR PRODUCTION NO. 28: Produce an example of the KONG Artic

Mitt prototype, as well as all documents and communications relating to the same.

       REQUEST FOR PRODUCTION NO. 29: Produce                    all    documents,    including   all

communications (internal and external), regarding any and all changes to your website since

January 1, 2016.

       REQUEST FOR PRODUCTION NO. 30: Produce any and all documents relating to or

supporting Jeff Cordes’s contention in Paragraph 9 of his Declaration (DN-39-2) that Ironclad

“has created a significant stock of product to supply to Grainger Industrial Supply.”

       REQUEST FOR PRODUCTION NO. 31: Produce any and all documents relating to or

supporting Jeff Cordes’s contention in Paragraph 9 of his Declaration (DN-39-2) that he

estimates that “the Vibram gloves will generate millions of dollars in revenue” and that he

expects the “Vibram gloves to be a huge driver of revenue, it could amount to as much as 25% of

Ironclad's sales in the upcoming year.”

       REQUEST FOR PRODUCTION NO. 32: Produce any and all documents, including

all communications (internal and external) regarding Jeff Cordes’s contention in Paragraph 14 of

his Declaration (DN 39-2) that “ORR was prohibited from selling similar gloves to consumers in

the oil and gas industry.

       REQUEST FOR PRODUCTION NO. 33: Produce any and all documents, including

all communications (internal and external), regarding Ironclad’s claim that the “oil and gas

industry” is analogous to the “petrochemical and offshore industry.”



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       REQUEST FOR PRODUCTION NO. 34: Produce any and all documents relating to or

supporting, including all communications (internal and external), Jeff Cordes’s contention in

Paragraph 16 of his Declaration (DN-39-2) that in “late 2015, [he] and Ironclad learned that

ORR was selling gloves in violation of the terms of the distribution agreements.”

       REQUEST FOR PRODUCTION NO. 35: Produce any and all documents and things

relating to, including all communications (internal and external) about, the meeting Eric Jaeger

had with Milton Bell and other representatives from ExxonMobil in 2015, including all items

and things brought to these meetings.

       REQUEST FOR PRODUCTION NO. 36: Produce the contract referenced in the

Paragraph 10 of the Cordes’ Declaration (DN-39-2).

       REQUEST FOR PRODUCTION NO. 37: Produce                    all   packaging    and     design

specifications (including bags, hang tags), including examples of all final packaging, for all

KONG gloves and the gloves identified in Request for Production 25, 26, or 27.

       REQUEST FOR PRODUCTION NO. 38: Produce samples of all fabric and materials

used to make any KONG gloves or any gloves identified in Request for Production 25, 26, or 27,

including identification of shared fabrics and materials by style/product type.

       REQUEST FOR PRODUCTION NO. 39: Produce the settlement agreement between

the parties in the litigation captioned Williamson-Dickie Holding Co. and Walls Holding Co.,

Inc. v. Audax Mezzanine Fund II, L.P., et al., filed in Dallas County, Texas District Court, No.

DC-14-03089 (the “Dickies/Cordes Lawsuit”).

       REQUEST FOR PRODUCTION NO. 40: Produce actual sales figures, including terms

of payment and return, for any gloves identified in Request for Production 25, 26, or 27.




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                        REASSERTED REQUESTS FOR PRODUCTION

         REQUEST FOR PRODUCTION NO. 41: Produce any and all documents not subject

to attorney-client privilege related to contractual relationships between Ironclad and Orr,

including without limitation documents concerning the creation of, Ironclad-internal discussion

of, termination of, circumvention of, or any breach of those agreements.

         REQUEST FOR PRODUCTION NO. 42: Produce Ironclad’s public filings, including

drafts and internal and/or external communications that relate to the public filings, that relate to

Orr, KONG, the allegations in the Complaint or Counterclaim, the answer and affirmative

defenses in Ironclad’s Answer or Orr’s Answer, or the Motion for TRO, the response, and the

reply to the same.

         REQUEST FOR PRODUCTION NO. 43: Produce any and all communications not

subject to attorney-client privilege, both Ironclad-internal and external, related to investor or

analyst calls for Ironclad from January 2009 to the present.

         REQUEST FOR PRODUCTION NO. 44: Produce any and all documents not subject

to attorney-client privilege related to all lines of credit, financing arrangements, or loans issued

to Ironclad from January 2009 to the present including without limitation all covenants

associated therewith.

         REQUEST FOR PRODUCTION NO. 45: Produce any and all communications not

subject to attorney-client privilege, both Ironclad-internal and external, related to Revenue

Recognition of the Orr/Ironclad Exclusive License and Distributorship Agreement dated January

6, 2009, as amended, including with those preparing SEC filings, accountants, auditors, and

banks.




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       REQUEST FOR PRODUCTION NO. 46: Produce any and all documents not subject

to attorney-client privilege related to Ironclad’s investigation of, research into, or

communications regarding competitors and competing gloves referred to in Paragraph 31 of the

Complaint.

       REQUEST FOR PRODUCTION NO. 47: Produce all correspondence and documents

not subject to attorney-client privilege related to the correspondence between Ironclad and Orr

referred to in Paragraphs 30, 34, 35, 37, 40, 42, 46, and 48 of the Complaint, including without

limitation Ironclad-internal correspondence or documents related to such correspondence with

Orr.

       REQUEST FOR PRODUCTION NO. 48: Produce any and all documents not subject

to attorney-client privilege related to any insurance or indemnity agreements that you contend

may cover any expenses or judgment amount Ironclad, its directors or its officers may incur in

association with this lawsuit.

       REQUEST FOR PRODUCTION NO. 49: Produce any and all documents reflecting

online, web-based or web-generated sales of KONG gloves by Ironclad from January 2009 to the

present including without limitation information as to the persons or entities to whom such

gloves were sold and when.

       REQUEST FOR PRODUCTION NO. 50: Produce any and all documents not subject

to attorney-client privilege regarding Ironclad’s distributorship agreement with W.W. Grainger,

Inc., including without limitation any agreements, communications, sales, pricing schedules,

shared intellectual property and shared research and development information.

       REQUEST FOR PRODUCTION NO. 51: Produce any and all documents not subject

to attorney-client privilege regarding Ironclad’s collaboration with Vibram USA Inc. and/or the



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Ironclad Industrial Impact Glove line, including without limitation any agreements,

communications, sales, pricing schedules, shared intellectual property and shared research and

development information.

       REQUEST FOR PRODUCTION NO. 52: Produce any and all documents not subject

to attorney-client privilege regarding Ironclad’s collaboration with Performance On Hand Pty

Ltd and/or the Ironclad Revolution, including without limitation any agreements,

communications, sales, pricing schedules, shared intellectual property and shared research and

development information.

       REQUEST FOR PRODUCTION NO. 53: Produce any and all documents not subject

to attorney-client privilege related to any entity with whom Ironclad has an agreement under

which that entity manufactures KONG gloves or components that are integrated into KONG

gloves, including without limitation any agreements, communications, orders, sales, or pricing

information.

       REQUEST FOR PRODUCTION NO. 54: Produce any and all documents not subject

to attorney-client privilege related to liens, security interests, pledges or guarantees issued by

Ironclad that relate to KONG or its associated intellectual property.

       REQUEST FOR PRODUCTION NO. 55: Produce any and all minutes of meetings of

Ironclad’s Board of Directors from 2008 to the present.

       REQUEST FOR PRODUCTION NO. 56: Produce any and all minutes of meetings of

Ironclad’s Audit Committee from 2008 to the present.

       REQUEST FOR PRODUCTION NO. 57: Produce any and all notes of any participant

in an Ironclad Board of Directors meeting that refer to KONG or Orr.




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        REQUEST FOR PRODUCTION NO. 58: Produce any and all documents provided

prior to or at meetings of Ironclad’s Board of Directors, including without limitation board

books, pre-reads or advance materials from 2008 to the present.

        REQUEST FOR PRODUCTION NO. 59: Produce                    all     documents    presented   to

Ironclad’s Board of Directors regarding the lawsuit styled Williamson-Dickie Holding Co. and

Walls Holding Co., Inc. v. Audax Mezzanine Fund II, L.P., et al., filed in Dallas County, Texas

District Court, No. DC-14-03089 (the “Dickies/Cordes Lawsuit”).

        REQUEST FOR PRODUCTION NO. 60: Produce any and all documents not subject

to attorney-client privilege related to any investigation by Ironclad into the claims giving rise to

the Dickies/Cordes Lawsuit.

        REQUEST FOR PRODUCTION NO. 61: Produce any and all documents not subject

to attorney-client privilege related to Ironclad’s investigation of Mr. Cordes or Mr. Aisenburg

prior to their hire by Ironclad.

        REQUEST FOR PRODUCTION NO. 62: Produce any and all documents not subject

to attorney-client privilege reflecting Ironclad management or Board of Directors discussion or

decision-making related to Orr, KONG, or this case, as referred to in Ironclad’s November 12,

2015 Earnings Call.

        REQUEST FOR PRODUCTION NO. 63: Produce any and all documents reflecting

sales by Ironclad pursuant to the Sub-Distributorship Agreement between Orr and Ironclad dated

July 22, 2010 from the date of that agreement to the present.




                                      /s/ Jennifer Metzger Stinnett
                                      Benjamin C. Fultz (admitted pro hac vice)
                                      Jennifer Metzger Stinnett (admitted pro hac vice)

                                                13


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                           2700 National City Tower
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                           Telephone: (502) 588-2000
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                           -and-

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                           gsudbury@qslwm.com

                           Counsel for Defendant and Counterclaim Plaintiff
                           Orr Safety Corporation




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                               CERTIFICATE OF SERVICE

        This is to certify that a true and correct copy of the foregoing document was served upon
the following counsel via email on March 8, 2016, in accordance with the agreement reached
between the parties for electronic service and the Federal Rules of Civil Procedure:

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       Counsel for Plaintiff/Counterclaim
       Defendant


                                            /s/ Jennifer Metzger Stinnett
                                            Counsel for Defendant/Counterclaim Plaintiff




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                 Exhibit 4

     Filed Under Seal




                                                            IC APP 000033
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                 Exhibit 5




                                                            IC APP 000053
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                                                Wednesday,	April	6,	2016	at	11:21:39	AM	Central	Daylight	Time

Subject:       FW:	Orr-Ironclad
Date:          Monday,	March	28,	2016	at	6:14:38	PM	Central	Daylight	Time
From:          Will	Thompson
To:            Andrew	Bynum
AGachments:    01306971.docx



Will Thompson
469.904.4554 direct
406.546.5587 mobile

From:	Jennifer	Metzger	SQnneR	[mailto:jsQnneR@fmdlegal.com]	
Sent:	Thursday,	March	24,	2016	5:29	PM
To:	Michael	Sherman	(masherman@stubbsalderton.com)	<masherman@stubbsalderton.com>;	Daniel
Charest	<dcharest@burnscharest.com>;	Will	Thompson	<wthompson@burnscharest.com>;	Barak	Kamelgard
(bkamelgard@stubbsalderton.com)	<bkamelgard@stubbsalderton.com>
Cc:	Ben	Fultz	<bfultz@fmdlegal.com>;	Corey	Shapiro	<cshapiro@fmdlegal.com>;	Amy	Hoagland
<ahoagland@fmdlegal.com>;	Twila	Carson	<tcarson@fmdlegal.com>
Subject:	Orr-Ironclad
	
All:

Please	ﬁnd	aRached	the	further	revised	areas	of	inquiry.		As	I	said	on	the	call,	while	we	are	always	willing	to
discuss	further	in	an	aRempt	to	form	a	ﬁnal	consensus,	we	have	aRempted	to	address	your
concerns/comments	for	some	Qme	and	over	the	course	of	lengthy	correspondence	and	mulQple	phone	calls.	
Orr	believes	it	has	tailored	the	30b6	requests	as	narrow	as	it	reasonably	can	at	this	point.
	
Second,	and	to	summarize	my	call	with	Will,	you	all	will	send	the	following	to	me:

1.	A	ﬁnal	redline	of	the	agreement	regarding	accommodaQon	on	Cordes’	deposiQon	(which	we	will	promptly
review	and	will	hopefully	then	have	ﬁnalized)	–today	or	tomorrow.
	
2.	A	redline	of	the	protecQve	order	adding	another	category	of	protecQon	for	certain	documents	Ironclad
believes	it	needs	even	further	protecQon	on	beyond	aRorneys’	eyes	only	–	today	or	tomorrow.
	
3.	Amended	responses	to	Orr’s	expedited	requests	for	producQon	(reviewing	in	conjuncQon	with	Orr’s	revised
30b6	noQce	and	my	comments	regarding	narrowing	the	discovery	sent	on	Monday,	March	21,	2016	at	12:28
pm)	–	no	later	than	Wednesday,	March	30,	2016.
	
4.	A	date	certain	as	to	when	we	are	gegng	responsive	documents	–	both	pursuant	to	the	ESI	and	the
expedited	discovery	–	both	of	which	are	signiﬁcantly	past	due	–	a	date	provided	no	later	than	close	of
business	tomorrow,	Friday,	March	25,	2016.
	
Third,	you	all	asked	for	wriRen	conﬁrmaQon	regarding	exactly	what	ORR’s	injuncQve	relief	is	speciﬁcally
asking	to	prevent	and	whether	or	not	we	want	IC	to	stop	manufacturing	or	selling	all	gloves.		Taking	directly
from	the	Reply	(DN	41),	Orr	has	asked	the	court	for	an	order	prevenQng	Ironclad	from:	“soliciQng	its
conﬁdenQal	distributor	network	and	confusingly	(and	torQously)	adverQsing	the	KONG	gloves	together	with
the	KONG	Vibram	Counterfeit	so	as	to	infringe	upon,	misappropriate,	and	dilute	the	KONG	trade	dress.
Moreover,	the	Court	should	enjoin	Ironclad	from	implemenQng	or	enforcing	the	post-moQon	price	increase
and	minimum	purchase	requirement.”		This	is	consistent	with	our	discussion	wherein	I	represented	that	Orr
                                                                                                           Page	1	of	2
                                                                                           IC APP 000054
         Case 3:15-cv-03453-D Document 52 Filed 04/06/16                     Page 40 of 65 PageID 1073
and	minimum	purchase	requirement.”		This	is	consistent	with	our	discussion	wherein	I	represented	that	Orr
was	not	trying	to	prevent	Ironclad	from	selling	KONG	or	the	Disputed	Gloves,	just	that	it	couldn’t	sell	to	Orr’s
DistribuQon	Network,	couldn’t	adverQse	KONG	and	the	Disputed	Gloves	together,	and	that	it	would	give	Orr
the	same	pricing	that	was	in	place	prior	at	the	beginning	of	liQgaQon	throughout	the	course	of	the	liQgaQon.
	
Please	let	me	know	if	you	have	any	other	quesQons	regarding	the	above.
	
Jenny




                                                                                                             Page	2	of	2
                                                                                             IC APP 000055
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                          UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                                 DALLAS DIVISION

IRONCLAD PERFORMANCE WEAR
CORPORATION,

        Plaintiff,
                                                           Case No. 3:15-cv-03453-D
v.

ORR SAFETY CORPORATION,

        Defendant


ORR SAFETY CORPORATION’S NOTICE OF RULE 30(B)(6) DEPOSITION OF IRONCLAD
                  PERFORMANCE WEAR CORPORAION


        Please take notice that, pursuant to DN-45 and Federal Rule of Civil Procedure 30(b)(6)

and the Court’s, Defendant ORR Safety Corporation (“ORR Safety”) will take the videotaped

deposition(s) of Plaintiff Ironclad Performance Wear Corporation (“Ironclad”) through one or

more of its officers, directors, managing agents, or such other authorized persons who consent to

testify on its behalf on Thursday, April 12, 2016, at 8:00 a.m. at the office of Quilling, Selander,

Lownds, Winslett & Moser, P.C., 2001 Bryan Street Suite 1800, Dallas, Texas 75201.

        Ironclad has a duty to designate one or more officers, directors, managing agents, or other

persons with sufficient knowledge to testify on their behalf on all information known or

reasonably available to each on the topics set forth below. The deposition(s) will be taken for the

purpose of discovery pursuant to the Court’s Order DN-45 relating to evidence in further support

of ORR Safety’s Motion for Preliminary Injunction and for all other purposes permitted under

the Federal Rules of Civil Procedure. The deposition(s) will be taken before a notary public or

other officer authorized by law to administer oaths for use in this litigation as set forth above.

The deposition(s) will continue from day to day until completed.

                                                 1


                                                                                  IC APP 000056
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                                         DEFINITIONS

       1. The terms “YOU” or “YOUR” means Plaintiff Ironclad Performance Wear

Corporation (“Ironclad”) including, without limitation, any agents and representatives, each

person acting or purporting to act on its behalf, each of its predecessors, subsidiaries, and

affiliates, and each of its present or former officers, employees, agents, representatives, and

attorneys.

       2. The term “Distributorship Agreement” means the Exclusive License and

Distributorship Agreement entered into between Ironclad and ORR Safety on January 6, 2009,

and as amended, the First Amendment to the Exclusive License and Distributorship Agreement

entered into between Ironclad and ORR Safety on January 27, 2015.

       3. The term “Disputed Gloves” shall include the following gloves:

             1. Industrial Impact Knit Cut 5
             2. Industrial Impact Low Profile impact - closed cuff Cut 5
             3. Industrial Impact Rigger Cut 5
             4. Industrial impact Rigger Insulated Waterproof
             5. Industrial Impact Arctic Mitt
             6. Industrial Impact Cotton Corded Palm
             7. Industrial Impact High Abrasion Impact
             8. Industrial Impact Knit Cut 5 Grip
             9. Industrial Impact Low Profile Impact - Open Cuff Cut 5
             10. Industrial Impact Rigger
             11. Vibram Insulated Waterproof
             12. Vibram Flame Resistant
             13. Vibram O.B.M.
             14. Vibram O.B.M. Cut-5
             15. Vibram O.B.M. XOR
             16. Vibram Rigger
             17. Vibram Rigger - Cut 5
             18. Vibram Rigger Insulated
             19. Ironclad Revolution
             20. Knit Cut 5 Sandy Nitrile Dip

       4. The terms “concerning” “regarding” and “relating to” mean relating to, supporting,

contradicting, summarizing memorializing, describing, evidencing, constituting, containing,

                                                 2


                                                                              IC APP 000057
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studying, identifying, analyzing, considering, regarding, explaining, mentioning, showing,

discussing, comprising or commenting on.

        5. Each of the terms “all,” “any,” “each,” and “every” shall be construed as meaning all,

any, each and every.

        6. The terms “and” and “or” shall be construed both disjunctively and conjunctively.

        7. The term “Distributorship Letter” shall mean the January 27, 2016 letter from Jeff

Cordes to members of ORR Safety’s Distributor Network for KONG, including, but not limited

to (1) Future Concerns Group; (2) Safar Oil Services; (3) Project Sales Corp.; (4) Durasafe Pte

Ltd.; (5) K&L Ross; and (6) KMST.

        8.   The term “Distribution Network” shall mean any of ORR Safety’s customers,

members of its supply chain, and or end users that Ironclad knows is or was a purchaser of

KONG Gloves from ORR Safety. ORR Safety contends the Distribution Network is confidential

and proprietary in nature.

                                      RULE 30(b)(6) TOPICS

        Ironclad shall designate one or more officers, directors, managing agents, or persons who

consent to testify on its behalf concerning the following subject matters:

        1.      Sections 1.3,1 2.1, 5.1, and 7.6 of the parties’ Distributorship Agreement between

Ironclad and ORR Safety as discussed in ORR Safety’s Motion for Temporary Restraining

Order/Preliminary Injunction and all supporting briefs and documentations thereto (DN-28, DN-

31 through DN 31-19, DN-35, and DN 36 through DN 36-6), Ironclad’s Response in Opposition

to ORR Safety’s Motion for Temporary Restraining Order/Preliminary Injunction and all

supporting documentations thereto (DN-37, DN-28, and DN-39-1 through DN 39-13), and ORR

1
  Note that Confidentiality Provision was originally Section 1.1 in the Distributorship Agreement, but was
renumbered as Section 1.3 in the Amendment. But the substance was not changed in the Amendment.


                                                    3


                                                                                       IC APP 000058
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Safety’s Reply in Further Support of its Motion for Temporary Restraining Order/Preliminary

Injunction and all supporting documentations thereto (DN-41 and DN-42 through DN-42-3).

       2.      The facts relied upon to form the allegations, and to justify the claims asserted as

of the date the relevant pleadings were filed, that specifically relate to Sections 1.3, 2.1, 5.1 and

7.6 of the parties’ Distributorship Agreement between Ironclad and ORR Safety as set out in: (1)

Ironclad’s Original Petition, (2) its answer and affirmative defenses to ORR Safety’s

Counterclaim (DN-12), and (3) its Response in Opposition to ORR Safety’s Motion for

Preliminary Injunction and all supporting documentations thereto (DN-37, DN-28, and DN-39-1

through DN 39-13).

       3.      Ironclad’s responses to ORR Safety’s requests for Expedited Discovery, served

on March 8, 2016.

       4.      Documents produced by Ironclad in this matter on or about February 29, 2016

(Ironclad_0000001-Ironclad_0000746), documents that will be produced by Ironclad in this

matter pursuant to ORR Safety’s expedited discovery requests served on March 8, 2016, and any

documents attached to ORR Safety’s Motion for Temporary Restraining Order/Preliminary

Objection (and brief in support), Ironclad’s Response in Opposition to ORR Safety’s Motion for

Preliminary Injunction, and ORR Safety’s Reply in Support of its Motion for Temporary

Restraining Order/Preliminary Objection.

       5.      Ironclad’s business operations, organization, ownership, and solvency, from

January 1, 2015 to the present.

       6.      All technical, manufacturing and practical analysis, or reasoning, and all facts in

support of, your allegations that ORR Safety breached Section 2.1 of the Distributorship

Agreement, including any and all analysis done to prove that the gloves set out in Paragraph 23



                                                 4


                                                                                   IC APP 000059
   Case 3:15-cv-03453-D Document 52 Filed 04/06/16                 Page 45 of 65 PageID 1078

of your Original Petition are “specifically designed and/or marketed for the petrochemical and

offshore exploration markets that are substantially similar to, or competitive with [KONG

gloves].”

       7.      All facts or evidence relied on by Ironclad in deciding to terminate the

Distributorship Agreement on October 7, 2015 due to ORR Safety’s alleged breaches of Section

5.1 of the Distributorship Agreement.

       8.      All technical, manufacturing and practical analysis, or reasoning, and all facts in

support of, your allegations/defenses that the Disputed Gloves do not infringe on KONG Trade

Dress, defined as “collectively, the characteristics of the visual appearance of [KONG gloves] or

packaging associated therewith and, to the extent permitted under applicable law, any

applications therefor, whether registered or not” in the parties’ Distributorship Agreement.

       9.      All technical, manufacturing and practical analysis, or reasoning, and all facts in

support of, your contention that the Court granting ORR Safety’s Motion for Preliminary

Injunction would “have devastating effects on Ironclad’s business” and would result in “millions

of dollars in lost sales and would delay a crucial product launch indefinitely” as asserted in your

Response in Opposition to ORR Safety’s Motion for Temporary Restraining Order (DN-38).

       10.     All assertions set out in the Declaration of Jeff Cordes (DN 39-2).

       11.     All discussions with any manufacturer regarding the production of any gloves at

issue in this litigation, including all KONG gloves (which includes all KONG Dickies gloves) or

any of the Disputed Gloves, relating to source materials, timing of production, or prototype of

any gloves.

       12.     All agreements and communications with Vibram regarding KONG gloves

(which includes all KONG Dickies gloves) or any of the Disputed Gloves.



                                                5


                                                                                 IC APP 000060
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          13.     All facts supporting your claim that Ironclad has not misappropriated ORR

Safety’s Distribution Network.

          14.     All facts supporting your claim that you in no way relied on any information

gained from your relationship with ORR Safety in preparing, drafting, or sending the Distributor

Letter.

          15.     Any and all meetings between anyone at Ironclad, including Eric Jaeger, and any

one at ExxonMobil, from September 2015 to the present.

          16.     The time frames and basis for deciding to create any of the Disputed Gloves.

          17.     Actual sales and sales terms for the Disputed Gloves to date.

          18.     The contract between Vibram and Ironclad.2

          19.     The packaging for KONG gloves and the packaging for the Disputed Gloves.

          20.     The fabrics and materials, including shared fabrics and materials, used to make

KONG gloves and the Disputed Gloves.

          21.     The elements of U.S. Patent No. 9,241,519 incorporated into KONG gloves and

the Disputed Gloves, as well as the other similarities of the KONG gloves and the Disputed

Gloves.

          22.     The development, manufacturing, and marketing of any prototype of the Disputed

Gloves.



                                             Respectfully submitted,



                                              s/ Jennifer Metzger Stinnett


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 To the extent that this topic implicates confidential and/or sensitive information addressed in the protective order,
ORR will take all steps to ensure that such information is not inappropriately disclosed.

                                                          6


                                                                                                 IC APP 000061
    Case 3:15-cv-03453-D Document 52 Filed 04/06/16              Page 47 of 65 PageID 1080

                                    Benjamin C. Fultz (admitted pro hac vice)
                                    Jennifer Metzger Stinnett (admitted pro hac vice)
                                    FULTZ MADDOX DICKENS PLC
                                    2700 National City Tower
                                    Louisville, Kentucky 40202
                                    Telephone: (502) 588-2000
                                    Facsimile: (502) 588-2020
                                    bfultz@fmdlegal.com
                                    jstinnett@fmdlegal.com

                                    -and-

                                    Gregory M. Sudbury
                                    Texas Bar No. 24033367
                                    Rachel Lee Hytken
                                    Texas Bar No. 24072163
                                    QUILLING, SELANDER, LOWNDS, WINSLETT & MOSER, P.C.
                                    2001 Bryan Street, Suite 1800
                                    Dallas, Texas 75201
                                    (214) 871-2100 (Main)
                                    (214) 871-2111 (Fax)
                                    gsudbury@qslwm.com

                                    Counsel for Defendant and Counterclaim Plaintiff ORR Safety
                                    Corporation


                              CERTIFICATE OF SERVICE

              This is to certify that a true and correct copy of the foregoing document was
served upon the following counsel via email on April 6, 2016, in accordance with the agreement
reached between the parties for electronic service and the Federal Rules of Civil Procedure:



                                    s/ Jennifer Metzger Stinnett
                                    Counsel for Defendant and Counterclaim Plaintiff




                                              7


                                                                               IC APP 000062
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                 Exhibit 6




                                                            IC APP 000063
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                                                                                                    FULTZ            ADDOX DICKENS
                                                                                                                                                   PLC

           Corey M. Shapiro   502-992-5011    eshapiro@fmdlegal.com                                                                     ATTORNEYS



                                                            Apri15, 2016

                                                                                                                        Via Email

           Will Thompson
           Burns Charest LLP
           500 North Akard Street, Suite 2810
           Dallas, TX 75201
           wthompsonna,burnscharest.com


                   RE:    Ironclad Performance Wear Corporation ("Ironclad")v. Orr Safety
                          Corporation ("Orr"), N.D. Tex. Case No.3:15-cv-03453-D

           Dear Will:

                  I write to memorialize our discussion earlier today regarding Ironelad's requests for
          documents in the above-referenced litigation. With respect to Orr's March 18, 2016 production
          of documents via Dropbox, I explained that documents labeled ORR00000173 — 00000317 were
          bates-labeled photocopies of the documents attached to Orr's Memorandum in Support of
          Temporary Restraining Order (ECF Doc. No. 35), which Orr reproduced for the parties'
          convenience. I also explained that the remaining documents, ORR00000001 — ORR00000172
          ~~ere produced in an effort to begin producing documents to Ironclad in advance of the then-
          upcoming deposition of Orr's corporate representative. The documents were not part of Orr's
          custodial ESI collection. Rather, they were printed from this firm's emails after having been
          provided to counsel in connection with this litigation and in preparation for that deposition, as
          indicated by the redactions exclusively at the top of nearly all of the documents. Accordingly,
          Orr is not withholding any relevant metadata. In discussing these redactions, you agreed that Orr
          need not create a privilege log for those redactions to the extent they involve communications
          made in the context of forwarding substantive emails to counsel during the litigation. You
          agreed that this resolves the outstanding issues regarding Orr's March 18, 2016 production.

                  We also discussed Orr's efforts to produce the data subject to the parties' Joint Informal
          Agreement Regarding Production of Electronically-Stored Information (the "Informal ESI
          Agreement"). As I mentioned, after applying the search terms in the Informal ESI Agreement,
          our vendor has informed us that the volume of ESI is over 1.2 million documents and
          approximately 186 GB, which is an unexpectedly large and unreasonable amount of ESI to have
          to review and produce. Accordingly, pursuant to Section E, footnote 4, I requested, and you
          agreed, the parties would work in good faith to generate reasonable search terms. As I
          mentioned, the search terms "I/C" and "TOTAL" standing alone will need to be eliminated, as
          those terms returned unreasonably large numbers. Orr hopes to have a proposal in the near
          future. To the extent you have specific suggestions in the meantime, I welcome your input.


~,itigation.
Health care law.                  101 S. Fifth Street, 27th Floor I Louisville, KY 40202-3116 I (502) 588-2000 I f.(502) 588-2020 I www.fmdiegal.com
Business lazy.



                                                                                                                 IC APP 000064
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 Will Thompson
 April 5, 2016                                                                    FULTZ MADDOX DICKENS
                                                                                                              PLC
                                                                                                       ATTORNEYS
 Page 2


        Please let me know if you disagree with anything in this letter or if I mischaracterized our
 discussion.

                                              Sincerely,
                                                `~               ~
                                                       ",            ~.
                                                            ~f

                                              Corey M. Shapiro


 cc:    Daniel H. Charest
        Barak Kamelgard
        Michael Sherman




                                                                                    IC APP 000065
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                 Exhibit 7




                                                            IC APP 000066
      Case 3:15-cv-03453-D Document 52 Filed 04/06/16                Page 52 of 65 PageID 1085
                          IN THE UNITED STATES DISTRICT COURT
                          FOR THE NORTHERN DISTRICT OF TEXAS
                                    DALLAS DIVISION

 IRONCLAD PERFORMANCE WEAR                         §
 CORPORATION,                                      §
                                                   §
          Plaintiff,                               §
                                                   § Civil Action No. 3:15-cv-03453-D
 v.                                                §
                                                   §
 ORR SAFETY CORPORATION,                           §
                                                   §
          Defendants.                              §

              Plaintiff’s First Set of Discovery to Defendant ORR Safety Corporation
         Plaintiff Ironclad Performance Wear Corp. serves this first set of discovery to Defendant

ORR Safety Corporation.

                                         INSTRUCTIONS

         1.      To the fullest extent permitted by the Federal Rules of Civil Procedure, these

discovery requests are intended to be continuing in nature. You are requested and required to

supplement your answers and responses when appropriate or necessary to make them correct and

complete.

         2.      All definitions and rules of construction contained in the Federal Rules of Evidence

and the Federal Rules of Civil Procedure are incorporated herein by reference.

         3.      Unless otherwise specified in a particular question or request, the relevant time

period for all questions and requests is from January 1, 2007 onward.

         4.      Please furnish all information, however obtained, that is within your knowledge,

possession, or control (or your agents’ or attorneys’), or which may be reasonably ascertained by

you.

         5.      If you are unable to respond to any part of these Discovery Requests in full, after




                                                                                   IC APP 000067
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exercising due diligence to secure the information necessary to do so, please respond to the extent

possible. Please specify that the response is or may not be complete.

       6.      Please identify all documents that support, refer to, or evidence the subject matter

of each information request and the response to that particular request.

       7.      Please produce all electronically-stored information (“ESI”) in native format.

       8.      To the extent that electronic documents/ESI contain non-graphic embedded objects

(e.g., electronic documents sent as attachments to emails, Excel spreadsheets or PowerPoint

presentations with embedded links or references to other electronic documents), please produce

such documents together in a manner that preserves the parent/child relationship between the

documents.

       8.      To the extent that physical documents are found attached to other documents, by

means of paperclips, staples, or other means of attachment, please produce such documents

together in their condition as found.

       9.      To the extent that physical documents are found in file folders that have labels or

other identifying information, please produce documents with such file folders and label

information intact.

       10.     If you decline to respond to any part of these Discovery Requests or choose to

withhold responsive documents under a claim of privilege or other objection, please respond to

the extent not subject to the claimed privilege or objection and indicate the basis for refusing to

comply with the particular Discovery Request. If privilege is claimed for particular documents,

please provide a privilege log that identifies each document for which the privilege is claimed and

include the following information:

               a. Date;




                                                                                  IC APP 000068
   Case 3:15-cv-03453-D Document 52 Filed 04/06/16                    Page 54 of 65 PageID 1087
               b. Sender;

               c. Addressee(s)/Recipient(s);

               d. Person(s) to whom copies were furnished, together with their job title or position;

               e. Subject matter of the document;

               f. Basis on which a privilege is claimed; and

               g. Discovery Request(s) to which the withheld documents are responsive.

                                           DEFINITIONS

       1.      The terms “YOU” or “YOUR” means Defendant ORR Safety Corporation

(“ORR”) including, without limitation, any agents and representatives, each person acting or

purporting to act on its behalf, each of its predecessors, subsidiaries, and affiliates, and each of its

present or former officers, employees, agents, representatives, and attorneys.

       2.      The term “Agreements” refers to, collectively, the Exclusive License and

Distributorship Agreement entered into between Ironclad Performance Wear Corporation

(“Ironclad”) and ORR on January 6, 2009 (the “Distributorship Agreement”), the First

Amendment to the Exclusive License and Distributorship Agreement entered into between

Ironclad and ORR on January 27, 2015 (“First Amendment”), the Sub-Distributorship Agreement

entered into between Ironclad and ORR on July 22, 2010 (“Sub-Distributorship Agreement”) and

the First Amendment to the Sub-Distributorship Agreement (“First Amendment to Sub-

Distributorship Agreement”) entered into between Ironclad and ORR on January 27, 2015.

       3.      The term “MOU” refers to the Memorandum of Understanding between Ironclad

and ORR dated December 11, 2013.

       4.      The terms “concerning” “regarding” and “relating to” mean relating to, supporting,

contradicting, summarizing memorializing, describing, evidencing, constituting, containing,




                                                                                     IC APP 000069
   Case 3:15-cv-03453-D Document 52 Filed 04/06/16                 Page 55 of 65 PageID 1088
studying, identifying, analyzing, considering, regarding, explaining, mentioning, showing,

discussing, comprising or commenting on.

       5.      “KONG® branded gloves” means all KONG® safety gloves (all sizes), together

with any inventions or improvements now or hereafter embodied therein (whether or not patentable

in any jurisdiction) during the term of the Distributorship Agreement, all gloves listed in Schedule

B to the Distributorship Agreement and First Amendment, and all gloves bearing at least one

KONG® Mark, any service mark, trade name or brand name containing the term “KONG®” or

the KONG® Trade Dress (as hereinafter defined).

       6.      “KONG® Trade Dress” means collectively, the characteristics of the visual

appearance of the Products or packaging associated with KONG® branded gloves.

       7.      Each of the terms “all,” “any,” “each,” and “every” shall be construed as meaning

all, any, each and every.

       8.      The terms “and” and “or” shall be construed both disjunctively and conjunctively.

                      ELECTRONICALLY STORED INFORMATION

       ***NOTICE*** Plaintiff requests that you produce all electronically stored
       information responsive to these requests for production in the form or forms
       in which it is ordinarily maintained (i.e., its native file format). For example,
       all responsive emails shall be produced in their native file format (e.g.,
       Microsoft Outlook, Lotus Notes), all responsive word documents files shall be
       produced in their native file format (e.g., Microsoft Word, WordPerfect), all
       responsive spreadsheets shall be produced in their native file format (e.g.,
       Microsoft Excel), and all responsive electronic presentations shall be produced
       in their native file format (e.g., Microsoft PowerPoint).

       All financial reports requested should be exported from your accounting
       software into Microsoft Excel and produced in Excel format.

                               REQUESTS FOR PRODUCTION

REQUEST FOR PRODUCTION NO. 1: All documents and communications referring to,
commenting on, or discussing the Agreements or any revisions made to the Agreements, including
any drafts of the Agreements, and any documents referring to, commenting on, or discussing drafts
of the Agreements.




                                                                                  IC APP 000070
   Case 3:15-cv-03453-D Document 52 Filed 04/06/16                 Page 56 of 65 PageID 1089
REQUEST FOR PRODUCTION NO. 2: All documents and communications referring to,
commenting on, or discussing the MOU or any revisions made to the MOU, including any drafts
of the MOU, and any documents referring to, commenting on, or discussing drafts of the MOU.

REQUEST FOR PRODUCTION NO. 3: All documents or data sufficient to show all of
ORR’s sales, proposed or projected sales of gloves to distributors, customers or end users in the
petrochemical and offshore exploration market, including the customer name, product(s)
purchased (SKU), quantity, unit price, unit cost, extended sales price, extended cost,
discounts/adjustments, returns and allowances, location of sale, and dates of sales.

REQUEST FOR PRODUCTION NO. 4: All documents or data sufficient to show all of
ORR’s sales or proposed of gloves that are similar to, or competitive with, KONG® branded
gloves, including the customer name, product(s) purchased (SKU), quantity, unit price, unit cost,
extended sales price, extended cost, discounts/adjustments, returns and allowances, location of
sale, and dates of sales.

REQUEST FOR PRODUCTION NO. 5: All documents or data sufficient to show all of
ORR’s sales or proposed sales of KONG® branded gloves, including the customer name,
product(s) purchased (SKU), quantity, unit price, unit cost, extended sales price, extended cost,
discounts/adjustments, returns and allowances, location of sale, and dates of sales.

REQUEST FOR PRODUCTION NO. 6: All documents and purchase orders accompanying
any purchase of KONG® branded gloves from ORR sufficient to show what products other than
KONG® gloves were included in each such purchase order, including the product(s) purchased
(SKU), quantity, unit price, unit cost, extended sales prices, extended cost, discounts/adjustments,
returns and allowances, location of sale, and dates of sales for those products other than KONG®
gloves.

REQUEST FOR PRODUCTION NO. 7: All documents or data sufficient to show all of
ORR’s sales or proposed sales of non-KONG® branded gloves manufactured by Ironclad,
including the customer name, product(s) purchased (SKU), quantity, unit price, unit cost, extended
sales price, extended cost, discounts/adjustments, returns and allowances, location of sale, and
dates of sales.

REQUEST FOR PRODUCTION NO. 8: All documents or data sufficient to show all of
ORR’s sales or proposed of HexArmor Chrome Series® Cut Resistant Gloves, including the
customer name, product(s) purchased (SKU), quantity, unit price, unit cost, extended sales price,
extended cost, discounts/adjustments, returns and allowances, location of sale, and dates of sales.

REQUEST FOR PRODUCTION NO. 9: All documents or data sufficient to show all of
ORR’s sales proposed sales of Ergodyne ProFlex® 900 Impact Gloves, including the customer
name, product(s) purchased (SKU), quantity, unit price, unit cost, extended sales price, extended
cost, discounts/adjustments, returns and allowances, location of sale, and dates of sales.

REQUEST FOR PRODUCTION NO. 10: All documents or data sufficient to show all of
ORR’s sales or proposed of Ergodyne ProFlex® 910 Impact Gloves, including the customer name,
product(s) purchased (SKU), quantity, unit price, unit cost, extended sales price, extended cost,
discounts/adjustments, returns and allowances, location of sale, and dates of sales.




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REQUEST FOR PRODUCTION NO. 11: All documents or data sufficient to show all of
ORR’s sales or proposed of Superior Glove® Emerald CX® Cut Level 3 Gloves, including the
customer name, product(s) purchased (SKU), quantity, unit price, unit cost, extended sales price,
extended cost, discounts/adjustments, returns and allowances, location of sale, and dates of sales.

REQUEST FOR PRODUCTION NO. 12: All documents or data sufficient to show all of
ORR’s sales or proposed of Ergodyne ProFlex® 800 Glove Liners, including the customer name,
product(s) purchased (SKU), quantity, unit price, unit cost, extended sales price, extended cost,
discounts/adjustments, returns and allowances, location of sale, and dates of sales.

REQUEST FOR PRODUCTION NO. 13: All documents or data sufficient to show all of
ORR’s sales or proposed sales of Superior Glove® Dexterity Cut Resistant Gloves, including the
customer name, product(s) purchased (SKU), quantity, unit price, unit cost, extended sales price,
extended cost, discounts/adjustments, returns and allowances, location of sale, and dates of sales.

REQUEST FOR PRODUCTION NO. 14: All communications between ORR, its agents,
representatives or consultants, on the one hand, and any domestic glove manufacturer other than
Ironclad, on the other hand, regarding the development of any glove to be sold by ORR.

REQUEST FOR PRODUCTION NO. 15: All communications between ORR, its agents,
representatives or consultants, on the one hand, and any foreign glove manufacturer or
manufacturing facility or factory, on the other hand, regarding the production of any glove to be
sold by ORR.

REQUEST FOR PRODUCTION NO. 16: All documents or data sufficient to show ORR’s
profit margins and the costs and expenses to ORR for all of ORR’s sales of KONG® branded
gloves.

REQUEST FOR PRODUCTION NO. 17: All documents or data sufficient to identify all sub-
distributors, sales agents, or independent consultants used or employed by ORR to distribute and/or
sell KONG® branded gloves.

REQUEST FOR PRODUCTION NO. 18: All documents or data sufficient to identify all sub-
distributors, sales agents, or independent consultants that were ever considered by ORR for the
distribution and/or sales of KONG® branded gloves.

REQUEST FOR PRODUCTION NO. 19: All communications between anyone at ORR and all
sub-distributors, sales agents, or independent consultants used or employed, or ever considered,
by ORR to distribute and/or sell KONG® branded gloves.

REQUEST FOR PRODUCTION NO. 20: All sales presentations or pitch materials used by
ORR for the purpose of selling KONG® branded gloves, whether or not those sales presentations
or pitch materials actually resulted in sales to the intended customer or distributor.

REQUEST FOR PRODUCTION NO. 21: All documents comparing KONG® branded gloves
to HexArmor Chrome Series® Cut Resistant Gloves, Ergodyne ProFlex® 900 Impact Gloves,
Ergodyne ProFlex® 910 Impact Gloves, Superior Glove® Emerald CX® Cut Level 3 Glove,
Ergodyne ProFlex® 800 Glove Liners, or Superior Glove® Dexterity Cut Resistant Gloves.




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REQUEST FOR PRODUCTION NO. 22: All documents relating to ORR’s efforts to actively
promote, market, and sell KONG® branded gloves.

REQUEST FOR PRODUCTION NO. 23: All documents relating to ORR’s collaboration with
Ironclad to market, promote and advertise KONG® branded gloves.

REQUEST FOR PRODUCTION NO. 24: All documents relating to ORR’s collaboration with
Ironclad to sell KONG® branded gloves.

REQUEST FOR PRODUCTION NO. 25: All documents relating to ORR’s marketing and
advertising campaigns for sales of KONG® branded gloves.

REQUEST FOR PRODUCTION NO. 26: All marketing and advertising materials used by
ORR to sell KONG® branded gloves, including but not limited to copy for print advertisements,
displays, and promotional materials.

REQUEST FOR PRODUCTION NO. 27: All communications between anyone at ORR and
any public relations employees or independent consultants regarding Ironclad or ORR’s sales,
marketing and advertising of KONG® branded gloves.

REQUEST FOR PRODUCTION NO. 28: All communications between anyone at ORR and
any advertising agencies or independent advertising consultants relating to Ironclad or ORR’s
sales, marketing and advertising of KONG® branded gloves.

REQUEST FOR PRODUCTION NO. 29: All documents relating to ORR’s marketing and
advertising budgets for the sales of KONG® branded gloves.

REQUEST FOR PRODUCTION NO. 30: All documents demonstrating ORR’s coordination
with Ironclad’s brand management team.

REQUEST FOR PRODUCTION NO. 31: All document demonstrating ORR’s collaboration
with Ironclad to develop product marketing plans or advertising campaigns.

REQUEST FOR PRODUCTION NO. 32: All documents relating to ORR’s trade show
activities to promote the sale of KONG® branded gloves.

REQUEST FOR PRODUCTION NO. 33: All documents demonstrating ORR’s efforts to
preserve the goodwill of KONG® branded gloves.

REQUEST FOR PRODUCTION NO. 34: All documents demonstrating ORR’s efforts to
solicit sub-distributors for the sale of KONG® branded gloves.

REQUEST FOR PRODUCTION NO. 35: All documents demonstrating ORR’s efforts to
solicit or employ distributors of safety and industrial products to sell KONG® branded gloves.

REQUEST FOR PRODUCTION NO. 36: All documents or communications discussing or
referring to the KONG® Rigger glove.




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REQUEST FOR PRODUCTION NO. 37: All documents or communications discussing or
referring to the KONG® Operator glove.

REQUEST FOR PRODUCTION NO. 38: All documents or communications discussing or
referring to ORR’s sales, or proposed sales, of gloves to Quanta.

REQUEST FOR PRODUCTION NO. 39: All documents or communications discussing or
referring to the KONG® KRC5Q glove.

REQUEST FOR PRODUCTION NO. 40: All documents or communications discussing or
referring to Ironclad’s gloves containing the “Ironclad Visual Engineering” technology.

REQUEST FOR PRODUCTION NO. 41: All documents or communications discussing or
referring to Vibram or the Vibram technology.

REQUEST FOR PRODUCTION NO. 42: All documents reflecting any contribution and input
that ORR provided to the development of the “Concept Glove” referenced in Paragraphs 21 and
22 of ORR’s October 23, 2015 “Answer, Additional Defenses, and Counterclaim.”

REQUEST FOR PRODUCTION NO. 43: All documents and communications discussing or
referring to the alleged “KONG Vibram Counterfeits” referenced in ORR’s October 23, 2015
“Answer, Additional Defenses, and Counterclaim.”

REQUEST FOR PRODUCTION NO. 44: All documents reflecting the feedback, input, field
information and design change requests that ORR provided to Ironclad as referenced in Paragraph
60 of ORR’s October 23, 2015 “Answer, Additional Defenses, and Counterclaim.”

REQUEST FOR PRODUCTION NO. 45: All documents or communications discussing or
referring to the “KONG Action Tracker & Overview” as referenced in Paragraphs 60 ORR’s
October 23, 2015 “Answer, Additional Defenses, and Counterclaim.”

REQUEST FOR PRODUCTION NO. 46: All documents demonstrating or reflecting how the
alleged “Kong Vibram Counterfeit” is allegedly based on input, research, and development from
ORR.

REQUEST FOR PRODUCTION NO. 47: All documents demonstrating or reflecting how ORR
“brought the Arctic Mitt opportunity to Ironclad,” as referenced in Paragraph 79 ORR’s October
23, 2015 “Answer, Additional Defenses, and Counterclaim.”

REQUEST FOR PRODUCTION NO. 48: All documents demonstrating or reflecting how ORR
“reminded Ironclad of its obligations to promote the KONG brand” with respect to the alleged
“Kong Arctic Mitt Counterfeit” ” referenced in Paragraphs 81 of ORR’s October 23, 2015
“Answer, Additional Defenses, and Counterclaim.”

REQUEST FOR PRODUCTION NO. 49: All documents relating to how Ironclad allegedly
failed to provide appropriate technical support to ORR.




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REQUEST FOR PRODUCTION NO. 50: All documents relating to Ironclad’s alleged failure
to provide timely deliveries to ORR.

REQUEST FOR PRODUCTION NO. 51: All documents relating to Ironclad’s alleged failure
to remit royalties to ORR.

REQUEST FOR PRODUCTION NO. 52: All communications that ORR has had with anyone
regarding KONG® or Ironclad since September 28, 2015.

REQUEST FOR PRODUCTION NO. 53: All documents relating to Ironclad’s alleged sales of
KONG® branded gloves to unauthorized customers.

REQUEST FOR PRODUCTION NO. 54: All communications between anyone at ORR and
any sub-distributors that ORR solicited or employed to sell KONG® branded gloves at any time,
whether or not ORR continues to distribute any products through that sub-distributor today.

REQUEST FOR PRODUCTION NO. 55: All communications between anyone at ORR and
employees or representatives of Hagemeyer North America relating to Ironclad or KONG®
branded gloves.

REQUEST FOR PRODUCTION NO. 56: All communications between anyone at ORR and
employees or representatives of Performance On Hand relating to Ironclad or KONG® branded
gloves.

REQUEST FOR PRODUCTION NO. 57: All documents related to conduct undertaken by
ORR to identify and gather intelligence on any competition in the market for KONG® products,
or to identify and gather intelligence on competitors who could potentially manufacture, distribute
or sell substitutions for KONG® products.

REQUEST FOR PRODUCTION NO. 58: All documents related to products that ORR believed
to be competitive with KONG® gloves at any time.

REQUEST FOR PRODUCTION NO. 59: All documents related to business analyses, on
occasion performed and referred to as a “SWOT” analysis or matrix (strengths, weaknesses,
opportunities and threats) created by ORR at any time with respect to its marketing and sales of
KONG® gloves.

REQUEST FOR PRODUCTION NO. 60: All documents created by ORR which identify,
discuss, and analyze the relevant market for sales of KONG® gloves between 2008-2015.

REQUEST FOR PRODUCTION NO. 61: All documents relating to ORR’s marketing budgets
for the sales of KONG® gloves for each year from 2008-2015.

REQUEST FOR PRODUCTION NO. 62: All documents relating to ORR’s product placement
marketing strategies for the sale of KONG® gloves.

REQUEST FOR PRODUCTION NO. 63: All documents relating to ORR’s forecasts or
projections for ORR’s sales of KONG® gloves between 2008-2015.




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REQUEST FOR PRODUCTION NO. 64: All documents reflecting or supporting the statement
that KONG “has become the gold standard.”

REQUEST FOR PRODUCTION NO. 65: All documents reflecting or supporting the statement
that KONG “is a unique and sought after brand.”

REQUEST FOR PRODUCTION NO. 66: All documents reflecting or supporting the statement
that no competitor has “been successful in developing a meaningful substitute.”

REQUEST FOR PRODUCTION NO. 67: All documents reflecting or supporting whether ORR
sought that the KONG line be “continuously expanding.”

REQUEST FOR PRODUCTION NO. 68: Documents sufficient to show all distributors, sub-
distributors, re-sellers, representatives, and appointed agents, domestically and foreign, of ORR
products at all relevant times.

REQUEST FOR PRODUCTION NO. 69: All documents demonstrating ORR’s development
and implementation at all relevant times of marketing plans for KONG in international markets.

REQUEST FOR PRODUCTION NO. 70: All documents or communications reflecting,
discussing or referring to any research, analysis or identification of counterfeit KONG® products.

REQUEST FOR PRODUCTION NO. 71: All documents demonstrating ORR’s development
and implementation at all relevant times of marketing plans for KONG® gloves to the following
companies: Exxon Mobil Corp., Chevron Corp., Royal Dutch Shell plc, CNOOC Ltd., PetroChina
Co. Ltd., Phillips 66, ConocoPhillips, Valero Energy Corp., OJSC Rosneft Oil Co., China
Petroleum & Chemical Corp., OJSC Surgutneftegas, OJSC LUKOIL Oil. Co., Reliance Industries
Ltd., Marathon Petroleum Corp., Oil & Natural Gas Corp Ltd., Enterprise Products Partners LP,
Ecopetrol SA, Canadian Natural Resources Ltd., EOG Resources, Inc., Suncor Energy Inc.,
TOTAL SA, Statoil ASA, BP p.l.c., Sasol Ltd., and PTT plc.

                                    INTERROGATORIES

INTERROGATORY NO. 1: Identify all sub-distributors employed or solicited by ORR to
distribute KONG® branded gloves, including the names and contact information for all
representatives of these distributors with whom ORR has communicated.

INTERROGATORY NO. 2: Identify all instances in which a distributor of safety or industrial
products requested to purchase KONG® branded gloves from ORR and ORR did not sell KONG®
branded gloves to them, including the date of such requests from each such distributor and the
reason ORR did not sell KONG® gloves to each such distributor.

INTERROGATORY NO. 3: Identify all instances in which ORR sold KONG® branded gloves
to a sub-distributor for a period of time, but subsequently stopped selling to that sub-distributor
for any reason and describe the name of each such sub-distributor, the time period for which ORR
was selling KONG® to that sub-distributor, the date ORR stopped selling KONG® to that sub-
distributor, and the reason ORR stopped selling KONG® to the sub-distributor.




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INTERROGATORY NO. 4: For each year from 2008 to 2015, identify who you believe were
your most significant competitors able to offer substitute products or gain additional market share
with substitute products, in competition with your marketing and sales of KONG® gloves.

INTERROGATORY NO. 5: For each year from 2008 to 2015, and for each competitor identified
in response to Interrogatory No. 4, identify which specific product(s) offered by each competitor
you believed to be the most competitive with KONG® gloves.

INTERROGATORY NO. 6: For each specific product identified in response to Interrogatory
No. 5, identify when each of the products was first known to ORR to have been commercially
available.

INTERROGATORY NO. 7: For each year from 2008-2015, and for each specific product
identified in response to Interrogatory No. 5, list the price of each product that ORR understood to
be the retail price for each such product in each year.

INTERROGATORY NO. 8: Identify all brands and models of gloves that ORR has marketed or
sold to customers, including distributors and/or end user customers, in the petrochemical and
exploration industry since January 6, 2009.

INTERROGATORY NO. 9: Identify and describe each and every business analyses, on occasion
performed and referred to as a “SWOT” analysis or matrix (strengths, weaknesses, opportunities
and threats) created by ORR at any time with respect to any of the competitors identified in
response to Interrogatory No. 4 and any product identified in response to Interrogatory No. 5.

INTERROGATORY NO. 10: Identify all customers, either direct or indirect, of HexArmor
Chrome Series® Cut Resistant Gloves, Ergodyne ProFlex® 900 Impact Gloves, Ergodyne
ProFlex® 910 Impact Gloves, Superior Glove® Emerald CX® Cut Level 3 Glove, Ergodyne
ProFlex® 800 Glove Liners, Superior Glove® Dexterity Cut Resistant Gloves, and KONG®
branded gloves, sold by ORR.

INTERROGATORY NO. 11: For each year from 2008 to 2015, describe with specificity all
steps taken by ORR to identify and gather intelligence on any competition in the market for
KONG® products, or to identify and gather intelligence on competitors who could potentially
manufacture, distribute or sell substitutions for KONG® products.

INTERROGATORY NO. 12: For each year from 2008 to 2015, identify each marketing and/or
advertising firm employed by ORR for the sale of KONG® gloves.

INTERROGATORY NO. 13: For each response to Ironclad’s Requests for Admission that is not
an unqualified admission, explain in detail the basis for such denial and identify each person who
has knowledge of facts that support such denial.




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INTERROGATORY NO. 14: Identify and calculate all categories of damages that YOU believe
YOU are entitled to in connection with YOUR counterclaims, and identify within YOUR response
the basis for each separate item of damage.

INTERROGATORY NO. 15: For each year from 2008 to 2015, list by total quantity and sales
price, all of ORR’s sales of KONG® gloves to each of the top 200 oil and gas companies (as
measured by gross revenue).

INTERROGATORY NO. 16: For each of the top 200 oil and gas companies (as measured by
gross revenue), identify the likely specific end-users of KONG® gloves who are employed by
those companies.

INTERROGATORY NO. 17: For each of the top 200 oil and gas companies (as measured by
gross revenue), identify the responsible individual or individuals with purchasing authority to
purchase impact protection gloves to be used by its employees for each year from 2008 to 2015.

INTERROGATORY NO. 18: Identify all sales associates, including current contact information,
sales representatives, or other individuals employed by ORR who sold, were responsible for
selling, or were able to sell Ironclad branded gloves or KONG® branded gloves.

INTERROGATORY NO. 19: Identify all independent consultants, including current contact
information, who were used or solicited by ORR and who sold, were responsible for selling, or
were able to sell Ironclad branded gloves or KONG® branded gloves.



                              REQUESTS FOR ADMISSIONS

REQUEST FOR ADMISSION NO. 1: Admit that the HexArmor Chrome Series® Cut Resistant
Glove is a product designed and/or marketed for the petrochemical and offshore exploration
market that is substantially similar to, or competitive with, KONG® branded products.

REQUEST FOR ADMISSION NO. 2: Admit that the Ergodyne ProFlex® 900 Impact Glove is
a product designed and/or marketed for the petrochemical and offshore exploration market that is
substantially similar to, or competitive with, KONG® branded products.

REQUEST FOR ADMISSION NO. 3: Admit that the Ergodyne ProFlex® 910 Impact Glove is
a product designed and/or marketed for the petrochemical and offshore exploration market that is
substantially similar to, or competitive with, KONG® branded products.

REQUEST FOR ADMISSION NO: 4: Admit that the Ergodyne ProFlex® 910 Impact Glove is
a product designed and/or marketed for the petrochemical and offshore exploration market that is
substantially similar to, or competitive with, KONG® branded products.




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REQUEST FOR ADMISSION NO. 5: Admit that the Ergodyne ProFlex® 910 Impact Glove is
a product designed and/or marketed for the petrochemical and offshore exploration market that is
substantially similar to, or competitive with, KONG® branded products.

REQUEST FOR ADMISSION NO 6: Admit that the Ergodyne ProFlex® 910 Impact Glove is
a product designed and/or marketed for the petrochemical and offshore exploration market that is
substantially similar to, or competitive with, KONG® branded products.

REQUEST FOR ADMISSION NO. 7: Admit that ORR did not “devote such time and resources
as required to actively promote, market and sell the Products in the Territory to the petrochemical,
offshore exploration markets and other industrial markets” as required by Paragraph 5.1 of the
Distributorship Agreement.

REQUEST FOR ADMISSION NO. 8: Admit that ORR did not “devote such time and resources
as required to actively promote, market and sell the Products in the Territory to Exclusive
Customers” as required by Paragraph 5.1 of the First Amendment.

REQUEST FOR ADMISSION NO. 9: Admit that ORR never collaborated with Ironclad to
develop a product marketing plan for advertising campaigns and trade show activities as required
by Paragraph 5.1 of the First Amendment.

Dated: January 26, 2016




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                                CERTIFICATE OF SERVICE

        This is to certify that a true and correct copy of the foregoing instrument has been served

 on the following counsel of record, this 26th day of January, 2016, via email as indicated below:

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                                                    /s/ Will Thompson
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